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				ALI v. FALLIN2017 OK 39Case Number: 115933Decided: 05/15/2017THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2017 OK 39, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 

FAISA ALI, as a resident taxpayer of the State of Oklahoma, and all other similar persons, Petitioner,
v.
MARY FALLIN, Governor of the State of Oklahoma, and STATE OF OKLAHOMA, ex rel. OKLAHOMA TAX COMMISSION, Respondents.
ORDER
Original jurisdiction is assumed. Edmondson v. Pearce, 2004 OK 23, ¶11, 91 P.3d 605. Senate Bill No. 1604, Laws 2016, c. 341, § 1, eff. Nov. 1, 2016, is not a revenue bill subject to the strictures of Okla. Const. Art. V, § 33. 
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 15TH DAY OF MAY, 2017.
/S/VICE CHIEF JUSTICE
VOTE TO ASSUME ORIGINAL JURISDICTION:
ALL JUSTICES CONCUR
VOTE TO ADOPT FOR PUBLICATION:
Gurich, V.C.J., Winchester, Edmondson, Reif, Wyrick, JJ., concur;
Combs, C.J., Kauger, Watt, Colbert, JJ., dissent. 




	Citationizer© Summary of Documents Citing This Document
	
	
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	Oklahoma Supreme Court Cases
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&nbsp;2004 OK 23, 91 P.3d 605, EDMONDSON v. PEARCEDiscussed


	
	



				
					
					
				
             
         
        
            
            
        

		
        
        
        
		
		
		
		
		

    
